Case 2:04-cV-02417-.]DB-STA Document 61 Filed 05/17/05 Page 1 of 3 Page|D 79

IN THE UNITED sTATEs DISTRICT COURT Y:N~Ei`»’ 3`?' S/.. e..e.
FoR THE wEsTERN DISTRICT oF TENNESSEE h
wESTERN DIvIsIoN US w ll F”H ar fig

JOHNNY BEARD, FRED BAKER &
SONS ELECTRIC, INC.,

 

Plaintiffs ,

v. No. 04-2417-B/An
BENICORP INSURANCE COMPANY,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion to Strike Jury Demand in Plaintiffs’ Amended
Complaint filed on May 16, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections. Failure to timely assign as error a defect in the magistrate judge’s order will

constitute a waiver of that objection §e_e Rule 72(a), Federal Rules of Civil Procedure.

rr ls so oRDEREI) this/ j day of May, 2005.

 

. DANIEL BREEN
U IT D STATES DISTRJCT JUDGE

Thi's document entered on the docket sheet in cor;plianee
with sure 53 and/or 79(3) FecP on §~&‘ “C`-'J <p/

 

F TNNESSEE

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Honorable J. Breen
US DISTRICT COURT

